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DUPLICATE

Court Name: Western District of Oklahoma
Division: 5

Receipt Number: OKW500087396

Cashier ID: dbeasley

Transaction Date: 09/29/2021

Payer Name: Mee Hoge PLLP

 

TREASURY REGISTRY
For: Ryan Leonard
Case/Party: D-OKW-5-14-FJ-000005-001
Amount : $10,000.00

CHECK
Check/Money Order Num: 40731
Amt Tendered: $10,000.00
Total Due: $10,000 .00
Total Tendered: $10,000.00
Change Amt: $0 .00

Return check fee $53

it hc dct daca cdc acne
